                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF ALABAMA
                                MOBILE DIVISION
IN RE:

NORMAN KENNETH REINHART, III;                   CHAPTER 7
                                                CASE NO. 19-12986
         Debtor(s)


                       MOTION TO LIFT THE AUTOMATIC STAY

       Comes now Specialized Loan Servicing LLC, (“Movant”), and moves this Court,

pursuant to 11 U.S.C. § 362, for an order lifting the automatic stay on certain property which is

currently subject to an interest held by Movant and shows unto the Court the following:

   1. Movant is a secured creditor of the above-named Debtor being the holder and owner of a

       certain note in the original principal amount of $337,500.00, executed by Norman K.

       Reinhart and Samantha D. Reinhart and payable to the order of NTFN, Inc., DBA

       Premier Nationwide Lending, and is secured by a mortgage on certain real estate located

       in Mobile County, Alabama, as evidenced by the attached instruments.

   2. Specialized Loan Servicing LLC services the loan on the Property referenced in this

       Motion. In the event the automatic stay in this case is modified, this case dismisses,

       and/or the Debtor obtains a discharge and a foreclosure action is commenced on the

       mortgaged property, the foreclosure will be conducted in the name of Movant or

       Movant’s successor or assignee. Movant, directly or through an agent, has possession of

       the Note. The Note is either made payable to Movant or has been duly endorsed. Movant

       is the original mortgagee or beneficiary or the assignee of the Mortgage.

   3. Movant avers that Debtor has been in default in the payment of the contractual

       installments due Movant, as assignee of said note and mortgage, pursuant to the terms of




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       said note, since March 2019 and thereafter.

       WHEREFORE, Movant respectfully requests that the Court issue an order stating that the

automatic stay is lifted pursuant to 11 U.S.C. § 362, and said property be released to Movant so

as to permit Movant to liquidate its security and to apply the proceeds to said indebtedness

secured thereby, and to such other relief to which it may be entitled.

                                                 By: /s/ Evan Eberhardt
                                                 Evan Eberhardt
                                                 Jauregui & Lindsey, LLC
                                                 244 Inverness Center Dr. Ste 200
                                                 Birmingham, AL 35242
                                                 (205) 970-2233




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                               CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing has been served upon the following using the
CM/ECF System, on September 24, 2019, to-wit:

Brenda D. Hetrick
P O Box 851115
Mobile, AL 36685

D. Parker Sweet
P.O. Box 537
Daphne, AL 36526

And by United States Mail, postage prepaid and properly addressed to:

Norman Kenneth Reinhart, III
704 Littledale Rd
Mobile, AL 36609
                                               By: /s/ Evan Eberhardt
                                                   Evan Eberhardt




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